 Case:2:16-md-02740-JTM-MBN
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                  United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                  TEL. 504-310-7700
CLERK                                                       600 S. MAESTRI PLACE,
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                                                           NEW ORLEANS, LA 70130

                           September 13, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-30516     Smith v. Sanofi-Aventis, U.S.
                       USDC No. 2:16-MD-2740
                       USDC No. 2:17-CV-617

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Majella A. Sutton, Deputy Clerk
                                  504-310-7680
Mr. Lawrence Joseph Centola III
Ms. Ilana H. Eisenstein
Ms. Rachel Horton
Mr. Jason Zachary Landry
Ms. Carol L. Michel
Mr. Bradley S. Thomas
